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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA

                                 CERTIFICATE OF SERVICE

        I hereby certify that on July 24, 2019, I electronically filed the foregoing, along with the

 Civil Cover Sheet and Disclosure of Corporate Affiliations and Other Entities With a Direct

 Financial Interest in Litigation, with the Clerk of the Court using the CM/ECF system and I hereby

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 OTHER NOTICE IS BEING SENT TO THE FOLLOWING PARTIES VIA FIRST-
 CLASS MAIL, POSTAGE PREPAID:



  Impax Laboratories, LLC               Walgreen Co.
  Corporation Service Company           Corporation Service Company
  251 Little Falls Drive                100 Shockoe Slip, 2nd Floor
  Wilmington, Delaware 19808            Richmond, VA 23219
                                        Defendant


  Walgreens Boots Alliance, Inc.           Amneal Pharmaceuticals of New York, LLC
  Corporation Service Company              The Corporation Trust Company
  251 Little Falls Drive                   Corporation Trust Center
  Wilmington, DE 19808                     1209 Orange Street
  Defendant                                Wilmington, DE 19801
                                           Defendant


   Amneal Pharmaceuticals, Inc.            Amneal Pharmaceuticals LLC
   Corporation Service Company             The Corporation Trust Company
   251 Little Falls Drive                  Corporation Trust Center
   Wilmington, DE 19808                    1209 Orange Street
   Defendant                               Wilmington, DE 19801
                                           Defendant


   Rhodes Pharmaceuticals, L.P.            Par Pharmaceutical Companies, Inc.
   Corporation Service Company             The Corporation Trust Company
   251 Little Falls Drive                  Corporation Trust Center
   Wilmington, DE 19808                    1209 Orange Street
   Defendant                               Wilmington, DE 19801
                                            Defendants


   Par Pharmaceutical, Inc.
   CT Corporation System
   111 Eight Avenue, 13th Floor
   New York, NY 10011
   Defendant




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